      Case 5:15-cv-00685-DTB Document 6 Filed 10/20/15 Page 1 of 3 Page ID #:64



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 8                   UNITED STATES DISTRICT COURT
 9                  CENTRAL DISTRICT OF CALIFORNIA
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11    YUEHAN QIU,                          ) Case No. EDCV 15-00685-DTB
                                           )
12                         Plaintiff,      )
                                           ) ORDER SUMMARILY DISMISSING
13                   vs.                   ) ACTION WITHOUT PREJUDICE
                                           )
14    ATLANTIC VENTURES, LLC,              )
      ET AL,                               )
15                                         )
                           Defendants.     )
16
17         Plaintiff filed this action on April 8, 2015, after prepaying the full filing fee.
18 Per the Notice to Counsel filed April 9, 2015, plaintiff was advised that service of the
19 Complaint was to be made in accordance with Central District of California Local
20 Rule (“Local Rule”) 4-2.
21         Local Rule 4-2 states: “Except as otherwise provided by order of Court,
22         or when required by the treaties or statutes of the United States, process
23         shall not be presented to a United States Marshal for service.” Service
24         of process must be accomplished in accordance with Rule 4 of the
25         Federal Rules of Civil Procedure or in any manner provided by State
26         Law, when applicable. Service upon the United States, an officer or
27         agency thereof, shall be served pursuant to the provisions of [Federal
28         Rules of Civil Procedure Rule] 4(I). Service should be promptly made;

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      Case 5:15-cv-00685-DTB Document 6 Filed 10/20/15 Page 2 of 3 Page ID #:65



 1         unreasonable delay may result in dismissal of the action under Local
 2         Rule 41 and [Federal Rules of Civil Procedure] Rule 4(m) of the Federal
 3         Rules of Civil Procedure. Proof of service or a waiver of service of
 4         summons and complaint must be filed with the court.
 5
 6         Pursuant to Federal Rules of Civil Procedure Rule 4(m), service of the
 7 Summons and Complaint must be accomplished on each named defendant within 120
 8 days after the filing of the Complaint. The 120-day period expired on August 6, 2015.
 9 Plaintiff was warned that the failure to effectuate proper service by that date might
10 result in the dismissal of this action under Local Rule 41 and Federal Rules of Civil
11 Procedure Rule 4(m).
12         As plaintiff had failed to effectuate proper service, the Court issued an Order
13 to Show Cause on August 20, 2015, ordered plaintiff to show cause, if there be any,
14 why service was not made within the 120-day period and why this case should not be
15 dismissed without prejudice for want of prosecution. Plaintiff was advised to show
16 cause by filing a declaration, signed under penalty of perjury.           Plaintiff was
17 admonished that should plaintiff fail to timely file such a declaration or if plaintiff
18 failed to show good cause for failure to timely serve, the Court would recommend that
19 the action be dismissed without prejudice for plaintiff’s failure to prosecute. See Rule
20 4(m) of the Federal Rules of Civil Procedure; Local Rule 41-1; Link v. Wabash R.R.,
21 370 U.S. 626, 629-30, 82 S. Ct. 1386, 8 L. Ed. 2d 734 (1962); see also Carey v. King,
22 856 F.2d 1439, 1440 (9th Cir. 1988).
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      Case 5:15-cv-00685-DTB Document 6 Filed 10/20/15 Page 3 of 3 Page ID #:66



 1         As of this date, plaintiff has failed to file a declaration in response to the Order
 2 to Show Cause. As plaintiff has failed to respond to the Court’s Order to Show Cause,
 3 within the time allotted, the Court hereby DISMISSES this action, without prejudice.
 4         LET JUDGMENT BE ENTERED ACCORDINGLY.
 5
 6 DATED: 10/20/15
                                              GEORGE H. KING
 7                                            CHIEF UNITED STATES DISTRICT JUDGE
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     Presented by:
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12 David T. Bristow
   United States Magistrate Judge
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